           Case 1:15-vv-00331-UNJ Document 92 Filed 06/14/19 Page 1 of 5




In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

***********************
JORGE PEREZ and TERESA PEREZ, *
as the parents and natural guardians of, *      No. 15-331V
J.P., a minor,                           *      Special Master Christian J. Moran
                                         *
                     Petitioners,        *
                                         *      Filed: May 16, 2019
v.                                       *
                                         *      Attorneys’ Fees & Costs.
SECRETARY OF HEALTH                      *
AND HUMAN SERVICES,                      *
                                         *
                     Respondent.         *
***********************
Mark T. Sadaka, Mark T. Sadaka, LLC, Englewood, NJ, for Petitioner;
Claudia B. Gangi, United States Dep’t of Justice, Washington, DC, for Respondent.

  UNPUBLISHED DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

      Jorge and Teresa Perez brought a successful petition for compensation in the
National Childhood Vaccine Compensation Program, 42 U.S.C. §§300aa-10 through 34
(2012). They now seek an award for attorneys’ fees and costs. They are awarded
$102,634.28.

                                       *       *      *

        Represented by Mark Sadaka, the Perezes filed their petition for compensation on
April 1, 2015. In their petition, petitioners alleged that the hepatitis A vaccine, which is
contained in the Vaccine Injury Table, 42 C.F.R. § 100.3(a), and which the Perezes’
child, J.P., received on August 27, 2012, caused J.P. to suffer chronic inflammatory
demyelinating polyneuropathy (CIDP).



       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
         Case 1:15-vv-00331-UNJ Document 92 Filed 06/14/19 Page 2 of 5



       Thanks to the efforts of both Mr. Sadaka and the Secretary’s attorney, Ms. Claudia
Gangi, after a mediation, the parties were able to resolve the case informally. The parties
submitted a joint stipulation that was adopted as the decision on this petition. Decision,
issued Mar. 4, 2019, 2019 WL 1529521.

        On April 30, 2019, petitioners moved for reimbursement of attorneys’ fees and
costs, requesting $48,246.84 in attorneys’ fees and $57,137.44 in attorneys’ costs. Pet’rs’
Mot. for Attorneys’ Fees and Costs, exhibit A. Petitioners also request $2,500.00 in costs
personally incurred to establish a guardianship for J.P. Id., exhibit C.

        The next day, respondent filed his response to petitioner’s motion. In his
response, respondent stated that he was “satisfied the statutory requirements for an award
of attorneys’ fees and costs are met in this case” and deferred to the undersigned’s
discretion to “determine a reasonable award for attorneys’ fees and costs.” Resp’t’s
Resp., filed May 1, 2019, at 2. Petitioner submitted a short reply on May 2, 2019.
Petitioners filed a signed statement in compliance with General Order No. 9 on May 13,
2019.

       This matter is now ripe for adjudication.

                                         *         *   *

       Because the Perezes received compensation, they are entitled to an award of
reasonable attorneys’ fees and costs. 42 U.S.C. § 300aa–15(e). Thus, the question at bar
is whether the Perezes requested amount is reasonable.

       The Federal Circuit has approved the lodestar approach to determine reasonable
attorneys’ fees and costs under the Vaccine Act. This is a two-step process. Avera v.
Sec’y of Health & Human Servs. 515 F.3d 1343, 1348 (Fed. Cir. 2008). First, a court
determines an “initial estimate … by ‘multiplying the number of hours reasonably
expended on the litigation times a reasonable hourly rate.’” Id. at 1347-48 (quoting Blum
v. Stenson, 465 U.S. 886, 888 (1984)). Second, the court may make an upward or
downward departure from the initial calculation of the fee award based on specific
findings. Id. at 1348. Here, because the lodestar process yields a reasonable result, no
additional adjustments are required.

       In light of the Secretary’s lack of objection, the undersigned has reviewed the fee
application for its reasonableness. See McIntosh v. Sec'y of Health & Human Servs., 139
Fed. Cl. 238 (2018).



                                                   2
           Case 1:15-vv-00331-UNJ Document 92 Filed 06/14/19 Page 3 of 5



       A.      Reasonable Hourly Rate

       Mr. Sadaka and his associates’ hourly rates are largely in accordance with rates
previously awarded by other special masters. See, e.g., Wright v. Sec'y of Health &
Human Servs., No. 15-1436, 2018 WL 6828711, at *4 (Fed. Cl. Spec. Mstr. Nov. 27,
2018). However, this case appears to be the first where Mr. Sadaka’s firm has requested
compensation for work performed in 2019. The rates requested for 2019 are $4052 per
hour for Mr. Sadaka and $156 per hour for his paralegals. The proposed increase from
the 2018 rates is generally in line with the year-over-year increase favored in McCulloch
and adopted by the special masters in this Program. See McCulloch v. Sec’y of Health &
Human Servs., No. 09-293V, 2015 WL 5634323 (Fed. Cl. Spec. Mstr. Sept. 1, 2015).
Although Mr. Sadaka’s rates are at the high-end of the forum rates suggested by
McCulloch, Mr. Sadaka has the skills and abilities justifying this rate. Accordingly, the
undersigned finds Mr. Sadaka’s requested rates to be reasonable.

       B.      Reasonable Number of Hours

       The second factor in the lodestar formula is a reasonable number of hours.
Reasonable hours are not excessive, redundant, or otherwise unnecessary. See Saxton v.
Sec’y of Health & Human Servs., 3 F.3d 1517, 1521 (Fed. Cir. 1993). The Secretary
also did not directly challenge any of the requested hours as unreasonable.

        Mr. Sadaka’s billing statement shows that he worked with a high level of
efficiency. Mr. Sadaka appropriately relied on skilled and experienced paralegals to
assist him with the type of work that must be completed in this Program but does not
necessitate a lawyer’s time and a lawyer’s fee.

       Accordingly, the undersigned finds that the number of hours billed by Mr. Sadaka
and his team is reasonable for this petition.

       C.      Costs

      Petitioners also request $57,137.44 in costs incurred by their attorney. These costs
are mostly accounted for by $19,250.00 for reports from Dr. Lawrence Steinman,
$14,875.00 for an expert report from Dr. Eric Gershwin, $11,524.22 for a life care
planner, and $7,588.94 in costs and fees for the mediation. In addition, petitioners


       2
         Petitioners’ motion mistakenly indicates that Mr. Sadaka requested $406 per hour for
2019. Pet’rs’ Mot. for Attorneys’ Fees and Costs at 2. This appears to be a typographical error
since the timesheets indicate that Mr. Sadaka charged $405 per hour. Id.,exhibit A at 2.

                                                   3
         Case 1:15-vv-00331-UNJ Document 92 Filed 06/14/19 Page 4 of 5



request reimbursement for routine costs, including the court’s filing fee, medical records,
and mailing costs. With the exception of Dr. Gershwin’s invoice, all the requested costs
are reasonable and awarded in full.

        Dr. Gershwin’s invoice is problematic. Special masters are required to
independently review all fees and costs requests to determine that all amounts are
reasonable before granting an award under the Vaccine Act. McIntosh, 139 Fed. Cl. at
250. Dr. Gershwin’s invoice frustrates this statutory obligation. Dr. Gershwin’s invoice
simply lists six dates and the number of hours worked on those dates. No other
information is provided that would facilitate the undersigned’s independent evaluation of
the reasonableness of the expense. See Pet’rs’ Mot. for Attorneys’ Fees and Costs,
exhibit B, at 26. Dr. Gershwin has had many years of experience in this Program and it is
not clear why Dr. Gershwin would think an invoice of this nature would be sufficient
either in this Program or with other clients.

       To assist in an analysis of the reasonableness of Dr. Gershwin’s invoice, the
undersigned has compared the two reports prepared by Dr. Steinman, exhibits 19 and 24,
with the report prepared by Dr. Gershwin, Pet’rs’ Mot. for Attorneys’ Fees and Costs,
exhibit D. Dr. Steinman’s initial report has substantially more analysis than Dr.
Gershwin’s and Dr. Steinman also supported his opinion with a responsive report after
the Secretary filed a rebuttal from his expert.

       Accounting for the apparent differences in the amount of work performed by Drs.
Gershwin and Steinman and Dr. Gershwin’s failure to otherwise account for his
requested hours, the undersigned finds it reasonable to pay Dr. Gershwin 50% of the
amount requested by Dr. Steinman, or $9,625.00. This results in a reduction of
$5,250.00.

       Petitioners also request $2,500.00 in costs they personally incurred in setting up a
guardianship for J.P. These types of costs have recently been upheld as compensable
under section 15(e) of the Vaccine Act. McCulloch v. Sec'y of Health & Human Servs.,
No. 2018-2046, 2019 WL 1966796, at *5 (Fed. Cir. May 3, 2019). Accordingly, because
the amount requested is reasonable, these costs are also awarded in full.

                                      *      *       *

        As a concluding note, the undersigned appreciates Mr. Sadaka’s efforts to submit a
fees motion that is in accordance with the precedent in this Program. The quality of the
motion facilitated its relatively speedy adjudication. Furthermore, while this fees motion
was a fitting time to comment on Mr. Sadaka’s performance, an opportunity the
undersigned took advantage of in this decision, Ms. Gangi’s characteristically good work
in this case must also be recognized. Both attorneys effectively advocated for their
                                                 4
         Case 1:15-vv-00331-UNJ Document 92 Filed 06/14/19 Page 5 of 5



clients’ interests while also effectuating the broader objectives of the Program. They
should both be proud of their efforts.

      For the reasons stated above, petitioner is awarded:

      1. A lump sum of $100,134.28 in the form of a check made payable to
         petitioners and petitioners’ attorney, Mark Sadaka.

      2. A lump sum of $2,500.00 in the form of a check made payable to
         petitioners.

       These amounts represent reimbursement attorneys’ fees and other litigation costs
available under 42 U.S.C. § 300aa-15(e). In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment
herewith.

      IT IS SO ORDERED.

                                                       s/Christian J. Moran
                                                       Christian J. Moran
                                                       Special Master




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